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1                                       UNITED STATES DISTRICT COURT

2                                           DISTRICT OF NEVADA

3                                                      ***

4

5     UNITED STATES OF AMERICA,

6                          Plaintiff,                     2:15-cr-00255-JAD-PAL
                                                          ORDER
7     vs.
      PAUL ENGSTROM,
8
                           Defendant.
9
            Before the court is Defendant's Motion to Reopen Detention Hearing (#22).
10
            IT IS HEREBY ORDERED that any opposition to Defendant's Motion to Reopen Detention
11
     Hearing (#22) must be filed on or before October 5, 2015. No reply necessary.
12
            IT IS FURTHER ORDERED that a hearing on Defendant's Motion to Reopen Detention Hearing
13
     (#22) is scheduled for 2:00 p.m., October 8, 2015, in courtroom 3D.
14
            The U.S. Marshal is directed to transport defendant to and from the hearing.
15
            DATED this 28th day of September, 2015.
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18                                                              _________________________
                                                                CAM FERENBACH
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                                                                UNITED STATES MAGISTRATE JUDGE
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